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                                                                                      JU    C.DUDLEY LERK
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                                                                                         (e j         .x.
  C AREY H IXSO N ,

          lalldtltiffy

  M.                                                      CivilAction N o.: 5:17-CV-032
                                                                            5:18-CV-001

  BRYAN H U TCH ESO N ,eta1.,                             By:    M ichaelF.U rbansldy
                                                                 ChiefU.S.DistrictJudge
          D efçndants.

                                   M EM O M N D U M O PIN ION

          PlaindffCareyHixsonrfl-lixson'),aninslllin-dependentdiabedc,allegeshewas
  deniedinsfplinwhileincrceratedattheHatrisonburg-Rocldngham Regionallail(fCHILRJ''),
  giving rise to avioladon ofllisEighth Am endm entrightsand a state-law clnim ofgross

   neglkence.Hixson'sSecondAmendedComplaintforMonetaryDamages,ECF No.125,
  raisestheseclnimsagninstDefendantDr.MichaelMoran (<fDr.Moran'),thedoctoratHRRJ
   dlpting H ixson'sincarceradon.Thism attercom esbefore thecotuton D z.M otan'sM odon

   forSllmmaryludgment.ECF No.189.Forthereasonsgiven below,thecourtGRANTS
   them odon.

                                                    I.1

          H ixson w asfttstdiagnosed with type 2 diabetesin Apdl2015 dllting a hospitalizadon

   atRockingham MemorialHospital(<<ltMH').ECF No.199-5,at49.Dlzringthesame
   hospitalstay,hewasalso diagnosed with m ethamphetam ine-induced psychosis,


   1Thefactsoftliscaseareslxmmazizedbelow and,consistentwiththes'ammaryjudgmentstandard,arevieweditzthe
   lightmostfavorabletoHixson.SeeWalkerv.Mod-u-lfraftHomes.IZC,775F.3d202,205n.1(4thCir.2014)(ddng
   FDICv.Casllion,720F.3d169,173(4thCir.2013)).
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   polysubstance abuse,and alcoholabuse.Id.A consultadon noteby aphysician on April26,

   2015 recorded thatH ixson had allistoryofinterm ittentblurryvision and patesthesiasofthe

   hand and feet.JIL
                 -.




         Dt.M otan wastlaem edicaldoctotfotinmatesatHILRJdllting Hixson's
   incarceradon.ECF N o.199-3,at5.H ewasem ployed by Rockingham County to provide

   medicalcareto theinmates.J.Z at6.Hixson entezedHRRJon August23,2016 and was
   released onlanuary29,2017.ECF No.199-2,at31.Upon entry,I'Iixson wasseen bya
   nonpartyintake nurse.ECF N o.199-3,at7-8.H einform ed herthathehad type 1,inslllin-

   dependentdiabetes,buttheintakenursew asunableto congf'm the diagnosis,despite faving

   arecotd requestto Hixson'sm edicalptovider.Id.Dr.M oran tesdfied thatthem edicalteam

   atHRRJwasunableto obtain Hixson'smedicalhistorybecauseffwhen D xson)signed his
   release form ,hewrotedo notrelease m entalhealth inform aéon,''and H ixson'sdiagnosisof

   diabeteswasm adeduring llisstay in thepsychiatdc unitofRM H .ECF N o.199-2,at8.

   Policy dictated thatanurse repeattherecord tequestifahealth ptoviderfailed to respond

   within 24 holzrs.ECF N o.199-4,at10.Ifthe providersdlldid notrespond within 24 houts

   ofthe second tequest,policy tequired thatthe nutsecallthephysician forordersand

   docllm entthatno tecordswereeverreceived.1d.W hilethe odgm
                                                            ' alrecord requestto

   Hixson'sproviderwasm ade,no evidencehasbeen elicited showing arepeatrequestw as

   m ade orthatD r.M oran wascontacted regarding tlae failureto secuterecords.LI.
                                                                                L

         D r.M oran reviewed theinform aéon taken by theintakenlzrseand placed H ixson on

   a diabetk diet.ECF N o.199-2,at8.H ealso ordered H ixson'sblood sugarlevelsbe tested

   every day.J-da.Forthe flrstfourm onthsofllisincarcetation,Hixson'sblood sugazreaflings

                                              2
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   wetevatiable,with som e norm aland som e elevated scotes.zSeeECF N o.113-12,at18-22.

   Hixson'sSeptemberreaclingsranged from alow of94mg/x on September24,2016to a
   high of157mg/dL on Septembet22,2016.LdaLikewise,itlOctober,llislow readingwas
   118mg/dL on October3,2016andltishighreadingwas169mg/K on October5,2016.
   J.Z N ovembet'szeadingscteeptdup,butzemainedve able,from a1ow of137mg/dL on
   N ovember25,2016to ahigh of239mg/dtaon November3,2016.LdaDecember's
   readings,whilehkher,stillfluctuated from 118mg/dL onDecember24,2016to277
   m g/dtaonD ecember7,2016.J.Z Hixson'sblood sugarvaluesretained thisvatiabilityin
  Januaty 2017.idaOn threedaysthatmonth,January21,24,and 28,Hixson'sBvicedaily
   reaclingswetem orethan 100pointsapart.JA

           Hivson also began occasionally tefusing tesdng,cllim ing apptehension in interacting

   with N urseK atherideRaynesafteraconfrontadon with heroveritw 11in.3ECF N o.199-2,at

   34.D r.M oran teviewed theblood sugarreadingson aw eeldy basis,asindicated by llis

   inidalsin Hixson'sm edicalrecord.ECF N o.199-4,at13.ln responseto the higherteadings,

   Dr.Moran ordered thatthebloodsugattestsbeperformedtwicedailyinlanuary2017,but
   atno pointclid D z.M oran prescribe Hixson any typeoforaldiabetesm eclicadon oritw nlitn

   injecdons.ECFNo.199-2,at23.W hileHixson clnimshe.repeatedlyaskednursingstafffor
   insulin,nothing in tlnerecord indicatesthatH ixson reported any sym ptom sofelevated

   blood sugarto eithera nurseorD r.M oran.Indeed,H ixson w asseen byD r.M otan on


   2OfficialpolicyatHRW setanormalfastingbloodsugarrangeof60-110mg/dtz.ECFNo.112-12,at6.'I'     heAmerican
   DiabetesAssociadon suggestsatargetrange'of80-130mg/dta.AmezicanDiabetesAssociation,Checlrin YourBlood
   Glucose,(lasteditedOct.9,2018),ho ://iabetes.org/ne g-Gi-iabetes/teaa ent-and-care/blood-glucose-
   conûol/checkl 'ng-your-blood-glucose.html.
   3Nuzse Raynesvaguely rem em bersthe confrontadon butdoesnotrem em berifH ixson requested inslxlin.ECF N o.199-
   4,at15.
                                                        3
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   Septem ber29,2016 and did notzelateany sym ptom sofordiscussdiabetes.E CF N o.199-2,

   at35.N ozdid I-lixson Slean ofik ialgrievance orcom plaintasking forinsulin ozany other

   form ofdiabetestreatment.JA
           H ixson flled hisoriginallaw suiton M atch 31,2017 againstDr.M oran and vadous

   otherdefendantswho havesincebeen disnaissed.4ECF N o.1.Hixson allegesthe following

   causesofacdonagainstDr.Moran:(1)Dt.MoranviolatedHixson'sffzighttobefreefrom
   deliberateindifferenceto lnisknown seriousm edicalneed forcliabeécm edicadon

   (pzescriptionorotherwise)totteatlaisknown,medicallydiagnosedcondidonofdiabetes,J'
   ECF No.125,at38;and (2)Dr.Moran commiledmedicalmalpracdce,astatelaw clnim
   wllich hasbeen disnnissed to the extentitsoundsin negligence,zatherthan grossnegligence.

   ECF N o.125,at38;ECF N o.167.H ixson also seekspurliéve dam agesand attorneys'fees,

   premised on theliabilityunder42U.S.C.j1983againstDr.Moran.ECF No.125,at45.
                                                       II.

           PursuanttoFederalRuleofCivilProcedute56(a),thecourtmustffgrantsummary
   judgmentifthemovantshowsthatthezeisnogenllinedisputeastoanymaterialfactand
   themovantisendtledtojudgmentasamatteroflam''Fed.R.Civ.P.56(a);CelotexCo .v.
   Catrett,477U.S.317,322(1986)9Glnnv.EDO Co .,710F.3d209,213(4thCir.2013).
   W hen m aking thisdeterm inadon,the courtshould considettftllepleadings,deposidons,

   answersto interrogatodes,and adrnissionson file,togetherwith...gany)afidavits'?fzed by

   4Hixson'soriginalcomplaintbroughtclnimsagainsttwoTqohnDoe''nutses.ECFNo.1.Onlanuaty3,2018,Hixson
   ftledHixsonv.Ranes,5:18-cv-001-MF?U,whichbroughtcllimsagainstRaynesandlanelleSeekford,anotherntuseat
   HRRJ.AstllissecondacdonbroughtidendcalclnimsagainstRaynesandSeekfordaswere&stbroughtagainsttheDoe
    nursesand alleged thesam e factsalleged in Hixson'sodgitzalcomplaint,itwascleazfrom the face oftheRa nes
    complaintthatRaynesand Seekford aze,in fact,theD oenursesnam ed in Fsxson'soziginalcomplaint.ECF N o.94,at6.
   'Ihe cout'
            tthusconsolidated thetwo cases.ECF No.95.O n N ovem ber19,2018,Raynesand Seekford were clismissed
    asdefendants.ECF N o.198.

                                                        4
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   the pazdes.Celotex,477 U .S.at322.W hethera factism aterialdepends on therelevant

   substandvelaw.Andersonv.LibertyLobby,Inc.,477U.S.242,248(1986).ffozzlydisputes
   overfactsthatnzightaffecttheoutcom e ofthe stlitunderthegoverning 1aw willpropezly

   precludetheentc ofsummaryjudgment.Fact'ualdisputesthatareirrelevantorunnecessary
   willnotbecounted.''J-I.
                         L(citaéonomitted).Themovingpartybearstheinidalbtudenof
   dem onstradng theabsenceofa genuineissue ofm aterialfactand m ay prevailby showing

   Tfan absence ofevidence to suppott''an essentialelem entofthe nonm oving pazty'scase.

   Celotex,477 U .S.at323.Ifthatburden hasbeen m et,thenonm oving partym ustthen com e

   forward with specifk m atedalfactsthatptove thereisagenliinedisputefortrial.M atsushita

   Elec.Indus.Co.v.ZenithRadioCor .,475U.S.574,586-87(1986).
         In determ ining whether agenllineissue ofm aterialfactexists,the courtviewsthe

   factsand dtawsallreasonableinferencesin thelightm ostfavotable to thenonm oving partp

   czl
   . -y-lm,710F.3dat213(citingBondsv.Leavitq629F.3d369,380(4thCir.2011)).Although
   fftheevidenceofthenonmovantistobebelieved,andalljusdhableinfetencesatetobe
   drawn in lnisfavor,'''M cAitlaids Inc.v.Iiim berl -clark Co .,N o.13-2044,2014 W L

   2871492,at*1(4thCir.2014)(internalalteradonomitted)(citingTolanvs-cotton,134S.Ct.
   1861,1863(2014)(percllri/mll,ffgtjhemereexistenceofascintillaofevidencein supportof
   thegnonmovant's)position willbeinsufficient''to overcomesummaryjudgment.Anderson,
   477 U .S.at252.Rather,agenlxineissue ofm atetialfactexistsonly Tfifthereissuffkient

   evidencefavodngthenonmovingpartyforajurytoyeturnaverdictforthatpattp''Res.
   BanksharesCo .v.St.PaulMetc Ins.Co.,407F.3d631,635(4thCir.2005)(quodng
   Anderson,477U.S.at249).ffln otherwotds,to grantslxmmatyjudgmentthegclourtmust

                                              5
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   deter inethatnoreasonablejtzrycolzldSndfo:thenonmovingpartyontheevidence
   beforeit.''Mossv.ParksCo .,985F.2d736,738(4thCir.1993)(cidngPetiniCo .v.
   PeriniConst,Inc.,915F.2d121,124(4thCir.1990)).
                                              111.

         CountIallegesaviolaéon ofH ixson'sEighth Am endm entm ghtsputsuantto 42

   U.S.C.j1983.To stateaclmim underj1983,aplaindffmustallegethevioladon ofadght
   secuted by the Consétution orlaw softheU nited Statesand m ustshow thatthedeprivation

   ofthatrightwascom m itzd by aperson acdng undercolorofstate law.Crosb v.Ci of

   Gastonia,635F.3d634,639(4thCir.2011)(cidngW estv.Atkins,487U.S.42,48(1988)).
   To prove an Eighth Am enclm entvioladon,Hixson mustshow thathe suffeted a suffkiently

   setiousdeprivadon and thatD r.M oran acted with Tfdelibetateindifference''to hishealth or

   safety.Fatmerv.Brennan,511U.S.825,834(1994)(citadonsonaitted).Thisisatwoprong
   test,withthefust,Tfobjecdve''prongreqllitingademonstradonofthesedousnessofthe
   deprivadonandthesecond,ffsubjecdve''prongreqllitingashowingofthedefendant's
   Tfsufhciently ctzlpable''state ofmind.Fnt-m er,511U .S.at834.

                                              A.

          Asastarting point,Hixsonmustmeettheobjectiveprong oftheFatmertestby
   raisingagenuinequeséonofmaterialfactthatfçthedeprivadonalleged gwas),objecdvely,
   fsufficientlyserious.'''Fnfvner,511U.S.at834 (quodngW ilsonv.Seiter,501U.S.294,298,
   (1991)).Ultimately,thedeprivation mustbeffextreme'7- meaningitmustposeTfaseriousor
   signiikantphysicaloremotionalinjuryresultingfrom thechallengedcondiéons,''or<<a
   substanéaldsk ofsuch seriousharm resuldng from ...exposure to the challenged


                                               6
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   condidons.''De'Lontav.An elone,330F.3d630,634(4t.
                                                   hCit.2003)(internalquotadon
   m arksand citaéononaitted).Inm edicalneedscases,likethecaseathand,theFarmertest
   reqlliresplaindffsdem onstrateofficials'deliberateindifference to a ffserious''m edicalneed

   thathaseither'fbeen diagnosed by aphysician asm andadng treau entor...isso obvious

   thateven a lay pezson would easilyzecognizethe necessity fota doctoz'sattendon.''lko v.

   Shreve,535F.3d225,241(4thCir.2008).
          Hixsonwasdiagnosedwithtype2diabetespriortohisincarceraéonatHILRJ.ECF
   N o.199-5,at48-50.A tthattim e,hewasprescribed M etfotm in,Lanm s,and H um alog to

   managethecondiéon.Ld.aat58.Upon l'
                                    tisarrivalatHILRJon August23,2016,Hixson
   inform ed theintakenurse thathewasdiabeticand had been prescdbed these m edicadons.

   ECF No.199-3,at9-11.Asstatedabove,thiswasnevetconf= ed.1i.Dr.M oran reviewed
   thisinfonnation,placed H ixson on adiabedc(Iiet,and ordered daily testing ofllisblood

   sugarlevels,butdid notprescribeinsulin orany othertype ofm edication used to treat

   diabetes.LdaDt.M oran saw Hixsoninperson onlyonceduringlnisincarceradon---on

   Septem ber29,2016,when Hixson requested a physician visitfortrea% entofback pain and

   high blood pressute.ECF N o.199-2,at48.H ixson did notcom plain ofany sym ptom s

   zelated to diabetes,nordid he m ention his(Iiabetesto D r.M oran duritzg the appointm ent.

   Onlanuary 19,2017,afterHixson'sbloodsugatlevelsbegan torise,Dz.Moran otdered
   Hixson'sblood sugarbe tested twice aday,butstillpresctibed llim no m edication.ECF N o.

   199-3,at23.

          W hen aj1983 cl/im fozinadequatemedicaltzea% entinvolvesacomplicatedhealth
   condidon,experttestimonyisrequitedtoshow proofofcausadonofinjurp Edwatdsv.
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   Graham Cty.Jail,No.1:16-CW 315-FDW ,2017W.
                                            L5894496,at*6(W .D.N.C.Nov.29,
   2017).Hixson allegeshesuffered pain,discomfortand fearwhileincatceratedand sevete
   im pnit-m entoflzisffboclily funcdons''asaresultofthe m onthsspentwithoutm edicadon.

   ECF N o.125,at18.H ereliesupon Dr.CarolRupe ashisexpeztwitnessand assertsthather

   tesfim ony show she suffered sufficiently sezioushst'm .

          D r.Rupe testihed thatatype2 diabeécwilltypically require elevated blood sugar

   levelsfor 15-20 yearsbefore sustaining dam age to internalorgans,retinopathy,or

   neuropathy.ECF N o.199-5,at53-54.Itisundisputed thatH ixson spentonly five m onths

   it'
     lHILRJunderDr.M ozan'scate.In addiéon,therecord isunclearasto how long Hixson
   had suffered from diabetesbefore hisofhcialdiagnosisorto whatextentllissym ptom s

   predatelésincarceration.M oreover?Dr.Rupetestzed thatshecolzldnotbecertain that

   HixsonhassufferedorwillsuffetanydamageorinjurybecauseofthedmespentatHILRJ
   withoutm edicadon.ld.at47,at52-54.

          Atoralargtzm entaH ixson conceded thattherew asinsufficientevidence oflong-term

   permanentinjurybutcbimedhesufferedshort-te= seriousitjutyinthefot'm of
   discomfortapain,and fear.In hisdeposidon,Hixson syatçd thatwhileincatcerated atHRRJ,
   he had Tdclouded'?vision,neuropathy,and dngling and pain irllnisfeet,ECF N o.199-2,at14,

   although thereisno evidencethathevoicedthesesymptomstomedicalstaffatHRRJ.
   Colzrtshavefound thatpermanentphysicalimplitxnentisunnecessaty to show an injury
   sufhcientto consdtazte sedousharm undertheEighth Am endm ent.SeeEasterv.Powell,

   467F.3d459,464-65(5thCir.2006)rfEvenifgtheplaindfflfailedtostateanEighth
   Am endmentvioladon with regard to thedelayin medicaltreatment...ghelclearly stated an
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   EighthAmendmentviolationwitlazegardto theseverechestpainhesuffered...'')(holding
   thatpain suffered wllilewaiting fotttea% entissufhcientto state an Eighth Am endm ent

   violadon).
         A sD r.M oran pointsout,som e ofthe sym ptom sdescribed by H ixson and D r.Rupe

   pzedateHixson'sHmeinjailandthuswezenotcausedbytheclnimedfailuretomedicate
   whileatHRRJ.ECF No.199-5,at50.Also noteworthyisHixson'ssix-month delayin
   seekingmedicalcateafterlaisJanuary29,2017release.ECF No.199-5,at109-11.Rule56,
   however,doesnotrequirethatthenon-m ovant'scasebewithoutflaw ordoubt.Itrequires

   only thatthe facts,w hen viewed in thelightm ostfavorable to the non-m oving party,zaise a

   genlline queséon ofm aterialfact.W hile the factsadduced leavem any quesdonsunanswered,

   the colzrtfindsthatH ixson presentsenough evidence suppotting hisposidon to pet-mita

   reasonablejurytofindhesufferedaserious,albeitshort-lived,hnt'm.
                                              B.

         HavingmadeashowingsufhcienttomeettheRule56standardastotheobjecdve
   seriousnessofthedeptivadon suffeted,H ixson m ustnow m ake ashowing thatD t.M oran's

   subjectivementalstatewasthatofdeliberateindifference.Deliberateindifferencereq,lires<<a
   lligherdegteeofcliszegard than m ere negligence.''Fnt-m er,511 U .S.at837.A prison offkial

   ffm ust130th beaw ate ofthe factsfrom w hich theinfetencecould be drawn thata substandal

   risk ofhnl'm exists,and hem ustdraw thatinfetence.''Bricev.Vit ' 'a Beach Correcdonal

   Center,58F.3d 101,105 (4th Cir.1995).Thisshowing requiresffmorethan m ere
   negligencey''though fdlessthan actsoromissionsgdone)fortheveryptzm oseofcausing
   hsrm orwith knowledge thatharm V IIresult.''Fstm er,511U .S.at835.The standard fTlies
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   somewherebetweenneglkenceandpurposeorknowledge:namely,recklessnessofthe
   subjecdvetypeusedincriminallam ''Bdcev.Va.BeachCoêr.Ctr.,58F.3d101,105(4th
   Cir.1995).
         D r.M oran arguesthatnothing in the record show shew asdeliberately indifferentto

   Hixson'sseriousmedicalcondidon.TosadsfythesubjecdvepzongoftheFntmertest,
   H ixson would have to show thatD r.M oran knew Hixson'sblood sugatreadings

   represented asubstandalrisk ofharm whileH ixson wasunderhiscare,and yettook no

   acéon.See Farm er,511 U .S.at837.D r.M oran arguesH ixson cannotshow this,asnothing

   in the record indicateseithersuch a state ofm ind orsuch inacion.The cout'tagrees.

         W hile Dr.M oran did notprescribeins'plin orany othertype ofm edicadon for

   H ixson,hestated radonalm edicalreasonsfotnotdoing so.Dr.M oran stated that,because

   H ixson'sblood sugarreaclingsvaded,an insulin prescripdon could have1ed to hypoglycemia

   iftaken while levelsw ere low .Tlnisreasoning,com bined w1t.
                                                              11thediabedc dietand daily

   blood tesdng,issufhcientto show thatD r.M ozan wasnotdeliberately indifferentto

   Hixson'sconclidon.SeePetersonv.Davis,551F.Supp.137,146(D.Md.1982)rfgtjhemete
   failuzeto tteatallm edicalptoblem s...even ifthatfailuream ountsto m edicalm alpracdce,is

   insufhcientto supportaclsim underj1983':).
          Dr.M otan'sexpertwitness,D :.RoseSuaava,opined thatthe decision notto

   aHm inisterinslzlin w asreasonable,given thevariable natute ofH ixson'sblood sugarteaclings

   and weightduring llisincarcetadon.ECF N o.190-9,at3.H ixson'sexperq D r.Rupe,

   countezsthatD r.M oran saw Hixson'szising blood sugarreadingsand took no acdon.She

   cbim sthatincteased testing isnottreatm entand thatHh son'sblood sugatlevelscalled for
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   theuse ofinsulin.ECF N o.199-5,at76.In hetopinion,D r.M oran should haveprescribed

   insulin forHixson beginninginD ecember2016.J.daat102.Clearly,Dr.Rupe,Dr.M oran,
   and D z.Suaavadisagtee asto whatwastheproperway to handle Hixson'srising blood

   sugar.D eliberateindifference,how ever,zequiresthatthe treatm entgiven dfbe so gtossly

   incom petentoinadequate,ozexcessiveasto shock the conscienceoz...beintolezable to

   fundamentalfaitness.''Mildetv.Beorn,896F.2d848,851(4thCit.1990).NegEgence,
   m alpracdce,orincorrectdiagnosisdo notalone giverise to avioladon ofthe Eighth

   Amendment.Ld.aThataprisonerdid notreceivethettea% entdesired doesnotconsdttzte

   delibezateindifference,notdoesdisagreem entbetween t'wo medicalprofessionals.1d.See

   Iacksonv.Lightsey,775F.3d170,178(4thCir.2014)(statingthatapdsondoctor's
   treatm entdecisionscould be Tfgravely''m istaken and disagteew1:.
                                                                   1'1a fotm erdiagnosisand

   prescribed treatnentplan by an outside specialistwithoutrtm ning afoulofthe Eighth

    Am endment).Instead,Hixson mustshow thatDr.M ozan failed toprovidecarehehimself
   felttobenecessary.1d.rf...adoctor'sfailtzretoprovidecarethathehimselfdeems
   necessary to tteatan inm ate'sseriousm edicalcondidon m ay consdtazte deliberate

   indifference.').
         Thezecotd givesno evidence thatthisoccutred.D r.M oian reviewed H lson'sblood

   sugarreaclingsand found them too variable to prescribeinsulin.D r.Rupe looksatthese

   sam e num bersand com esto adifferentopinion.A Ending ofdeliberateindifference does

   notfollow from a disagteem entbetween m edicalprofessionals.The couttalso notesthatthe

   record providesno evidence D r.M otan wasaware Hixson wassuffedng any sym ptom sof

   iligh blood sugar.H ixson reportshe suffered clouded vision and pnin and dngling in lnis
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   extremides,buthe nevercom plained ofany such sym ptom sto Dr.M otan when hem etwith

   him .W hileH ixson stateshe asked nurses forinslllin,there isno evidence thathe

   com plained to them ofsymptom sw arrandng m edicadon.Indeed,N m se Raynestestz ed in

   herdeposidon thatshebelieved H ixson to beasymptom atic forthe entitety ofllis

   incazceradon.ECF N o.199-4,at49.Fllrfhet,given thevatiability ofH xson'sblood sugaz

   readings,D r.M otan wasconcerned aboutan insulin overdose.Them edicalstaff'sbeliefthat

   Hixson wassuffering no sym ptom sofhigh blood sugatand theunpteclictability ofH ixson's

   bloodsugatlevelsfatallyundetnainesanyinferenceofthenecessarysubjecdvementalstate.
          80thpatdeshaverefezencedScintov.Stansber ,841F.3d219(4th Cir.2016),in
   theirbdefs.H ivson arguesthe Scinto factsareon pointwhileD r.M oran drawsdistincdons

   betwqen thetwo sitazadons.In Scinto,a form erfederalpdsonerbtoughtsuitar instseveral

   federalprison offkialsalleging thata prison doctorviolated llisEighth Am endm entrightsby

   denying him insulin to treathistype 1,inslllin-dependentdiabetes.1d.at225.Upon hisentry

   into prison,pbintiffw asitnidally prescribed insulin accorcling to a sliding scale ofblood

   sugarrealings.J.
                  i W hen thisprescripdon ptovedinsufficientto conttolplnintiff'sblood

   sugar,herequestedasupplementalinjecdon from theprisondoctoz.ld.at227.Because
   plaindffwasTfangzy''attheHm e ofthisrequest,the doctorte= inated plaindff'svisitand

   declined to providehim with insulin,instead lim iting hisprescripdon signihcantly.J1LAftez
                                                                                        -.




   severalmoresimilarincidents,plnintifpshemoglobinA1C levelsrosefrom 7 (within the
   notmalrangefordiabetics)to 9.8(anunhealthyscore).Ld.zat228.Pbindffalso suffeted
   dam ageto lliskidneys,eyesight,nervoussystem ,and psychologicalw ellbeing.Ld=The court
                                                                                   .
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   ruled thatpbindffhad adduced enough factsshowing deliberateindifference to survive

   defendant'smodonfotslpmmatyjudgment.Ldaat230.
         Hixson atguesthatthe Scinto decision com pelsdenialofDr.M oran'sm odon.Scinto,

   how ever,wasdecided on very differentfacts.Fitst,theprison doctorin Scinto wasw ell

   aw are ofplaindff'ssetiousm edicalcondidon and had pzesctibed an insulin zegl
                                                                               'm en under

   wllichplaintiffwastoteceivesupplementalitjecdonswhenllisbloodsugarreachedacertain
   level.1d.at229.Flzrthermore,plnindff'sTflengthypdsonmedicalrecordsshowged)thathis
   diabetesdiagnosiswasflongstanding,pervasive,well-doctunented,gand)exptesslynotedby
   prisonofficialsy'includingbygtheprisondoctotjlnimself.''1d.(quotingParrishexrel.Leev.
   Cleveland,372F.3d 294,303(4th Cir.2004)).Asnoted bytheFourth Circuitin Scinto,the
   pdson doctortheteT<diszegardgedjllisown presczipdon designed tomanagegplainéff'sq
   condition,''idaat229,because he wasffan angryand hostilepadent.''ld.
         H ere,in contrast,tlziscasebol
                                      'lsdown to a disagreem entasto treatnentbetween

   H ixson and Dz.M otan.W hile H ixson allegeshe shotzld havereceived m edicadon,D r.

   M ozan chose to m onitorhisblood sugarand treathisvariablereadingswith diet.D r.M oran

   tesdûed abouttheHsksofproviclinginslllin to apadentwith such vatiable blood sugar

   readings.W hen H ixson'sreadingsrose,D r.M oran ordered twice dal
                                                                   'ly testing,agnin

   recognizing signifkantvariabilityitlthedaily readings.Underthe circum stances,D r.M oran's

   care ofHixson and hisdecision to m onitorhisdiabetesand treathim witladietratherthan

   m edicaéon cannotconsém tedelibetateindifference.D r.M oran'sdaily m onitoring of

   H ixson'sblood sugatteadingsshow sthathew asnotdeliberately indiffezentto Hixson's

   meclicalcondidon.Thesefactscannotshow eithersubjecdveawatenessofasignifkantdsk
Case 5:17-cv-00032-MFU-JCH Document 218 Filed 01/23/19 Page 14 of 18 Pageid#: 2431




   oradeliberateinclifference to thattisk.5The courttherefore GR AN T S the m odon for

   summaryjudgmentandDISM ISSESCount1.
                                                        IV.

           TheVirgirziaSupremeCourthasde:nedgrossneglkenceasadfdegreeofnegligence''
   whichshowsffsuchindifference''astoTfconsdttzteg)anutterdisregardofprtzdence
   amoundngtothecompleteneglectofthesafetf'ofanother.Fer sonv.Fer son,212Va.
   86,92,181S.E.2d648,653(1971).Tlzisdegzeeofnegligencemustbesuchaswouldshock
   fair-m inded people,though itneed notconsdttztewiIIfUIrecklessness.K offm an,574 S.E.2d

   at60.Gtossnegligencereqppitesanobjecûveinqtur
                                               'y;thedefendant'sbehaviormustbe
   com pazed to thatofa sim ilarly sim ated,hypothedcalKfreasonable''person.Co a ev.

   Mann,906F.Supp.1025,1049(E.D.Va.1995).W hetherbehaviorconstitm esgross
   negligenceisusuallyaquesdonoffact,leftforthejurytoanswer.Geddchv.FairfaxCoun
   De t.ofFamil Servs.,282F.Supp.2d439,475(E.D.Va.2003).
           Though the standazdsofdeliberateindifferenceand gtossneghgenceare closely

   related,cotzttsdo draw disO céons.Gtossneghgenceisaslightlylower standard,lacldng the

   subjecévecomponentofdeliberateinclifference.Coppagq,906F.Supp at1049.Unlike
   delibetateindiffetence,grossnegligencedoesnotzequitea fincling thata defendantknew of

   asubstanéalrisk.Id.Itisenoughthatthedefendantshoulbhavebeenawareofthatdsk.Id.



   5Inasupplem entalpleadingfollowitzgtheheadng,Hixsonasksthecourttofocuson certaitzdeposidontestim ony.ECF
   No.215.Thistesrimonydoesnot$verisetoagen'xineissueofmatezialfactastodeliberateitzdifference.WhileHt
                                                                                                     'xson
   describesexperiencingblurryvisionandpaitzinlzisfeetwhileinHRRJ,ECFNo.199-2,at14,hedoesnotcbim tohave
   reported thistoanttrseorD r.M oran.Sim ilarly,Dr.Rupedesczibed Hixson'sblturyvisioninherdeposidon and
   idendEed thisasa symptom ofelevated blood sugarlevels,ECF N o.199-5,at50,99,butoffered no testim ony
   establishingthatanymemberofthemedicalstaffatHRRJwasawareofthesesymptoms.Thesefactsdonotraiseany
   infezence thatDr.M oran wasawaze ofa seriousdsk to H ixson'shealth.
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         Asdiscussedabove,duringhisintakeHixsontoldthenurseatHILRJthathewasa
   type 1,inslllin-dependentdiabeéc.D r.M oran stated he decided notto m edicate paréally

   because fftheinform adon given by an inm ateisstadstically proven to som etim esbenot

   totally correct.''ECF N o.199-3,at10.D r.M oran thereforerequiresa confitm adon through

   m edicaltecozdsofaprisoner'sdiagnosisbefozepresczibing m edicadon.Id.Dz.M ozan w ent

   On to say:

                 And had I have autom adcally placed M r. Hixson on the
                 m edications he said he was on,ifw e look at his blood sugats
                 during hisfltsyfew daysatthe jail,Ithink we wotzld be sitling
                 here having a diffetentdeposidon when Ioverdosed M r.H ixson
                 on insulin that lnis body didn't need. So, no, I clid not
                 automaécally place him on medicadon justbecause he said he
                w as on it because I'm responsible for them bot.h for treating
                diseasethey haveand fornotcausing any dam age.

   I.
    I.
     J.Dr.M oranthereforeplaced Hixson on adiabeticdietandordered dailychecksofhis
   blood sugarlevel.Id.

          In D ecem ber2016,H ixson'sblood sugatlevelsrose;D z.Rupe teslifed thathis

   reaclingswereffde6nitelyon aconsistentbasiswellabovethe130matk''wllichisabovethe
   Am edcan D iabetesA ssociadon gaidelinesrecom m ended fasdng blood sugarreadings.ECF

   N o.199-5,at102.D r.M oran'sresponsewasto increase H ixson'sblood suga.
                                                                         rreadingsfrom

   once daily to twicedaily.A scliscussed above,D r.Rupeopinesthatthisw asinadequate.She

   arguesthatatthispoint,Hixsonshouldhavebeenzeceivinginslllitnitjections,andthatthe
   failureto do so caused permanentdamage.LdxDr.M otan'sexpett,Dr.Suaava,disagreesand
   statesin herrepottthatthe decision notto adm inisterinslxlitnw asreasonable,given the

   vatiable natate ofHixson'sblood sugarreadingsand weightduring hisincarcetadon.ECF

   N o.190-9,at3.
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         A sw1t.14deliberate indiffetence,disagreem entsbetween m edicalprofessionalsdo not

   sufficetoshow grossnegligence.Justbecauseonemedicalprofessionalclnimstheother
   shouldhavedonemorethanhediddoesnotgiverisetoalevelofneglkenceffwlnichshows
   indifference to others,disregarding prudenceto the levelthatsafety ofothersiscom pletely

   neglected.''Wilb v.Gostel,265Va.437,445,578S.E.2d796,801(2003).W etethisclnim
   sounding in otdinary negligence,Hixson m ay havebeen able to arguethatD r.M oran should .




   havetaken m ore afflt-madve stepsto m anage hisdiabetes.D r.M ozan,how ever,hasalready

   shown heisenétled to sovereign im m unity,which sllieldslnim from m edicalm alpracdce

   suitssoundingitlordinaryneglkence.ECF No.166.Hixsonisnow requiredtoshow gross
   negligence,am uch highetstandard thathe cannotm eet.

          Thetecord cleatly show sthatD r.M otan took stepsto m onitorH ixson'scondidon.

   Virginialaw makesclearthatifdefendantshavetaken ffeven theslightestbitofcareg),
   regardlessofhow insufficientorineffecdveitm ay have been,''then therehasbeen no

   showingofgrossnegligence.Elliotv.Cm er,292Va.618,621,791S.E.2d730,731(2016).
   A ccordingly,the cotzrtGR AN T S them oion and D ISM ISSE S CountII.

                                                V.

          Dr.M oran also arguesthatheisendtled to quav ed immurzityon b0tlzthej1983
   cbim and the state m edicalm alpracdce cbim .Thedoctrineofqualified im m unity,a federal

   commonlaw preceptapplicablein j1983 cases,sllieldsofhcialdefendantsfrom monetary
   liabilityso long astheofficial'sconductdid notviolate ffclearly established''stataztoryor

   constM tionaltightsofwllich areasonableperson in the defendant'sposiéon would have

   known.Mitchellv.Fors t.
                         h 472U.S.511,526 (1985)9W ellerv.De 'tofSoc.Servs.forCi
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   ofBalt.,901F.2d387,398(4thCir.1990).Theprincipleofqualihedimmunityreflectsthe
   concern thattheaward ofcivildamagesagainstpublicofhcialsforeveryjudicially-
   determ ined violadon ofrightswould discourageindividualsfrom seeking public

   em ploym ent,prove deleteriousto thetreasuty,and im paitgovernm entaldecision

   m aking.W eller,901 F.2d at398.Thedoctrineofqualiûed im m unity,thezefore,m andates

   thatofhcialsffal:enotliable forbad guessesin gray areas,''butinstead are only Tfliablefot

   transgeessingbtightlines.''M aciarieEov.Slxmner,973F.2d295,298(4thCir.1992).
          In detet-mining ifa defendantisendtled to qualihed im m unity,thecourtm ustfltst

   detezminewhether,taken in thelightm ostfavorable to a plaintiff,the factsaileged allow a

   hnding thatthe defendant'sconductviolated thepbintiff'sconstim donalrights.Ifthe

   answetto thisisyes,then thecouttm ustconsiderwhethetthisparticulardghtwasffcleatly

   established''atthetimeoftheviolaéon.Saucierv.Katz,533U.S.194,201(2001).Asthis
   cout'
       thasruled thatD r.M oran did notshow deliberateindifference to H ixson,the & ststep

   ofthe aboveanalysism ustbe answered in thenegaéve.Therefore,to theextentthe

   detetminadon isrelevant,Dr.Motanisendtledto qualihedimmunityon Hixson'sj1983
   clnim .6

                                                    W .

          Forthe above zeasons,H ixson'sclnim sagainstD r.M ozan ate D ISM ISSED .

   W ithoutthese substandve underlying clnim s,H-
                                                ixson'sclnim sfozpurzidve dam agesand




   6'
    ThequaliEedimm'lnitycalculusisinapplicabletothestate1aw cllim ofgrossnegligence.lohnDoe#1v.Robinson,
   No.CIV.A.4:07CV84,2009W.   L435097,at*4(E.D.Va.Feb.20,2009)(citingColb v.Borden,241Va.125,129,400
   S.
    E.2d184,186(1991)).
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   attozneys'feesaregroundlessand D ISM ISSE D .D efendant'sM odon forSllm m ary

   JudgmentisGRANTED.
         An appropriate O tderwillbeentered thisday.




                                          Entered:Tu s
                                                         0236d
                                                             #ay oflanuary,2018

                                     /+/         4            .                   '
                                          M ichaelF. tbanski
                                          Chief      tedStatesDistdctludge




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